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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

                                                          NO. 0:18-cv-03025-JNE-ECW
    ROCCO CIOFOLETTI, et al., on behalf of
    themselves and all others similarly situated,

                  Plaintiffs,

    v.                                              DEFENDANT SHURWEST LLC’S
                                                         NOTICE OF STAY
    SECURIAN FINANCIAL GROUP, INC.,
    et al.,

                  Defendants.


                                      INTRODUCTION

          Defendant Shurwest, LLC (“Shurwest”), without waiver of its challenge to the

Court’s personal jurisdiction over it,1 provides notice to the Court of a stay of litigation

imposed by the United States District Court for the District of South Carolina (the “South

Carolina Court”). This case is subject to the South Carolina Court’s stay order. Numerous

courts assessing similar claims against Shurwest have already so found, including courts

in California, South Carolina, and Illinois. Perhaps more importantly, a motion is pending

before the South Carolina Court asking that court to expressly decide what impact the stay



1
   Plaintiffs have failed to plead sufficient facts to establish personal jurisdiction in
Minnesota over Shurwest—an Arizona limited liability company with no offices,
employees, or business operations in Minnesota. As set forth in this notice, however,
Shurwest is currently enjoined from “taking any action in connection with” this case,
including filing a motion to dismiss for lack of personal jurisdiction. If and when the stay
and injunction issued by the South Carolina Court are lifted and dissolved, Shurwest will
file its motion to dismiss for lack of personal jurisdiction.

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has on cases such as this one. The Court should stay this case to allow the South Carolina

Court to determine the scope of its stay order.

                              FACTUAL BACKGROUND

       This action arises from fraudulent investment products created by Future Income

Payments, LLC (“FIP”) allegedly used to finance life insurance policies sold to Plaintiffs

and members of the purported class. Although Plaintiffs’ Amended Complaint names

Shurwest as a defendant in this case, Shurwest played no role in the marketing, promotion,

or sale of FIP products; instead, all alleged actions were taken by individuals that were not

authorized by Shurwest to market, promote, or sell FIP products and whose request to

participate in such activity Shurwest explicitly rejected. (Declaration of Philip J. Kaplan,

submitted herewith (“Kaplan Dec.”), Ex. 1, ¶¶ 4-5.)

       Former Shurwest employee Melanie Schulze-Miller (“Schulze-Miller”) led the

effort to circumvent Shurwest’s policies and market FIP despite Shurwest’s refusal to do

so. She formed her own company unaffiliated with Shurwest, MJSM Financial LLC

(“MJSM”), to engage in these activities. (See id. at ¶¶ 6-11.) MJSM, Schulze-Miller, and

her recruits—not Shurwest—benefitted from any marketing, promotion, or sale of FIP

products. (See id. at ¶¶ 10-11.)

       As a result of these acts, FIP, Schulze-Miller, and MJSM (among others) have been

placed in a federal receivership by the United States District Court for the District of South

Carolina.   To ensure the proper oversight and management of the receivership and

receivership assets, the District of South Carolina stayed all civil legal proceedings of any

nature involving FIP, Schulze-Miller, and MJSM (as well as other receivership entities).


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Plaintiffs have not named these entities in the present lawsuit in an attempt to bypass that

stay. However, Plaintiffs’ allegations make clear that the lawsuit involves FIP, Schulze-

Miller, and MJSM.

                              PROCEDURAL BACKGROUND

         On March 12, 2019, a federal grand jury in South Carolina indicted FIP on charges

of mail and wire fraud stemming from FIP’s fraudulent investment products. United States

v. Kohn, et al., No. 6:19-cr-00239-BHH, Dkt. 2 (D.S.C. Mar. 12, 2019). On April 30, 2019,

the South Carolina Court entered an order (the “Receivership Order”) appointing a receiver

“vested with full and exclusive power, duty and authority to administer and manage the

business affairs, funds, assets, choses in action and any other property of the FIP

Receivership Entities, marshal and safeguard all of the assets of the FIP Receivership

Entities, and take whatever actions are necessary for the protection of the United States and

investors.” In re Receiver for Scott A. Kohn, Future Income Payments, LLC, et al., No.

6:19-cv-1112, Dkt. 7 (D.S.C. Apr. 20, 2019) (Kaplan Dec., Ex. 2 at 3). An amended order

was entered on July 18, 2019 to include additional individuals named in a superseding

indictment (the “Amended Receivership Order”). Id. at Dkt. 9 (Kaplan Dec., Ex. 3). The

receiver has filed more than thirty parallel actions, presumably seeking to collect and

preserve assets for the benefit of FIP’s victims.2

         The Amended Receivership Order found that FIP and the individual defendants that

orchestrated the fraudulent FIP scheme operated through various entities and individuals,



2
    In the interests of brevity, citations to those case numbers are omitted.

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notably not including Shurwest. (Kaplan Dec., Ex. 3 at 2-3.) The Court found that these

“entities and individuals controlled by and/or alter egos” of FIP (the “FIP Receivership

Entities”) include Schulze-Miller and MJSM, and it placed them in receivership along with

FIP. (Id.) The Amended Receivership Order stays “all civil legal proceedings of any

nature” “involving” the FIP Receivership Entities (including FIP, Schulze-Miller, and

MJSM) “until further Order of this Court,” and it enjoins the parties to any such action

“from commencing or continuing any such legal proceeding or from taking any action in

connection with any such proceedings.” (Id. at ¶ 13 (emphasis added).)

       Following multiple court decisions—both state and federal, as discussed below—

finding that the Amended Receivership Order stays proceedings such as this one, one of

the Plaintiff’s lawyers responsible for lawsuits across the country filed, in South Carolina

federal court on behalf of unnamed movants, a motion asking the South Carolina Court to

clarify that the Amended Receivership Order does not stay cases such as this one. (Kaplan

Dec., Ex. 4.) Shurwest intends to oppose that motion and ask the South Carolina Court to

confirm what myriad other courts have: that cases like this remain stayed. Ultimately, the

South Carolina Court will either agree with Shurwest, thus maintaining the stay over cases

such as this one, or agree with the unnamed movants and allow cases such as this one to

proceed.

                                      ARGUMENT

       The receivership stay applies to this case because Plaintiffs’ allegations hinge on

the activities of those who allegedly promoted FIP products—not Shurwest, but MJSM,

Schulze-Miller, and her recruits. Federal and state courts nationwide have agreed that the


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stay applies in such situations, even where the FIP Receivership Entities are not named as

party defendants. And the South Carolina Court has pending before it a motion to clarify

the scope of the stay. For these reasons, the Court should recognize the stay unless and

until the South Carolina Court orders that it does not apply.

A.     THIS CASE IS SUBJECT TO THE RECEIVERSHIP STAY ORDER
       BECAUSE IT INVOLVES THE FIP RECEIVERSHIP ENTITIES.
       This case is subject to the receivership stay order because it involves the FIP

Receivership Entities FIP, MJSM, and Schulze-Miller. Plaintiffs did not sue FIP, MJSM,

or Schulze-Miller, likely in an attempt to avoid the effects of the Amended Receivership

Order’s stay. But the Amended Receivership Order is not limited to cases in which

Receivership Defendants are parties (something the South Carolina Court could easily have

ordered); it applies to all cases “involving” the Receivership Defendants. (Kaplan Dec.,

Ex. 3 at ¶ 13 (emphasis added).) This case certainly involves Receivership Defendants: as

reflected in the extensive allegations regarding FIP throughout the Amended Complaint,

the claims are centered on the alleged process for, and consequences of, the promotion and

sale of FIP products. (See Am. Compl. [Dkt. #94] at ¶¶ 2-4, 8-9, 16, 19, 37, 40, 43, 46-50,

52-56, 58-67, 73-74, 80, 82-83, 84, 89, 91, 93, 95, 101, 103, 107-10, 112.)

B.     NUMEROUS COURTS HAVE FOUND THAT THE STAY APPLIES TO
       SIMILAR CASES, AND THE SOUTH CAROLINA COURT STANDS
       READY TO FINALLY MAKE THAT DETERMINATION.
       Courts nationwide have quelled similar attempts by plaintiffs to bring actions

against Shurwest rather than the FIP Receivership Entities. For example, in Page v.

Minnesota Life Insurance Co., No. SACV1801208AGKESX (C.D. Cal.)—another case

involving allegations by an FIP investor against Shurwest in which neither FIP, MJSM, or

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Schulze-Miller are named defendants—the court has stayed the proceedings, finding that

the Amended Receivership Order applies. (See Kaplan Dec., Exs. 5 & 6 (Dkt. 146 & 150

– Sept. 24, 2019 and Nov. 18, 2019 minute orders staying case).) The court further

indicated that the parties should seek clarification from Judge Hendricks of the District of

South Carolina, who entered the Amended Receivership Order, should they want to release

the stay. (See id.; see also In re Vantex Land & Dev. Co., Inc., 47 B.R. 261, 265 (Bankr.

D. Ariz. 1985) (recognizing “[i]t is improper” for Court to issue “interpretation of an order

entered by another Court”).)

         Numerous other cases in Illinois, South Carolina, and California remain stayed. See

Metzner v. Anchor Financial, et al., No. 2019-CH-01301 (Ill. Chancery Ct., Cook Cty.);

Hess v. Storer, No. 2018-CP-2304010 (S.C. Ct. of Comm. Pleas, 13th Jud. Dist.); Burgess

v. Storer, No. 2018-CP-2304197 (S.C. Ct. of Comm. Pleas, 13th Jud. Dist.); Stegelin v.

Dixon, No. 2019-CP-4000507 (S.C. Ct. of Comm. Pleas, 5th Jud. Dist.); Billings v. Dixon,

No. 2019-CP-0400479 (S.C. Ct. of Comm. Pleas, 10th Jud. Dist.); Deretchin v. Storer, No.

2019-CP-2302042 (S.C. Ct. of Comm. Pleas, 13th Jud. Dist.); Ayers v. Dixon, No. 2019-

CP-0400752 (S.C. Ct. of Comm. Pleas, 10th Jud. Dist.); Leland v. Brown, et al., No. Civ-

19-00627 (Cal. Super. Ct., Marin Cty.).3

         Perhaps more fundamentally, a motion is pending before the South Carolina Court

seeking clarification of the scope of the stay. (See Kaplan Dec., Ex. 4.) Shurwest intends

to respond to that motion; its deadline for doing so is currently January 21, 2020. In short



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    In the interests of brevity, copies of these orders are omitted.

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order thereafter, the South Carolina Court will confirm—one way or another—what the

effect of its stay on cases such as this one is. This Court should allow the South Carolina

Court an opportunity to make that determination.

                                     CONCLUSION

       The South Carolina Court imposed a broad litigation stay of all proceedings

“involving”—and not simply naming as defendants—the FIP Receivership Entities.

Multiple courts have confirmed that cases like this one are within the scope of the stay, and

the South Carolina Court has before it a motion that will finally determine the scope of the

stay. The Court should stay this case until the South Carolina Court has made its

determination.

 Dated: January 8, 2020                     ANTHONY OSTLUND
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